 

Case 1:17-cv-02041-R.]L Document 49 Filed 01/15/19 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

MIKHAIL FRIDMAN, PE'I`R AVEN,
and GERMAN KHAN

Plaintiffs,
v.

Civil Case No. 17-2041 (RJL)

BEAN LLC (a/k/a FUSION GPS) and
GLENN SIMPSON

\-/\/\-/\./\/V\/\/\-/VV

Defendants.

w "": " ' !,.";

(January , 2019) [Dkt. ## 19, 20]

 

For the reasons set forth in the accompanying Memorandum Opinion, it is hereby
ORDERED that defendants’ motions to dismiss under the D.C. Anti-SLAPP Act.
[Dkt. # 19], and Federal Rule ofCivil Procedure lZ(b)(6), [Dkt. # 20] are DENIED.

SO ORDERED.

      

 

RICHA J. ON
United States District Judge

 

 

 

